Agreement to Forfeit PropertyCase 1:22-cr-00240-AKH_ Document 18-2 Filed 05/05/22 Page 1 of 3
UNITED STATES DISTRICT COURT

|

SOUTHERN DISTRICT OF NEW YORK
UNITED STATES OF AMERICA
V. AGREEMENT TO FORFEIT PROPERTY
Sung Kook (Bill Hwang) CASE NUMBER: CRIMINAL NO. 22¢r240
Defendant

I/we, the undersigned, acknowledge pursuant to 18 U.S.C. §3142(c) (1) (B) (xi) in consideration of the release of the
defendant that I/we and my/our personal representatives jointly and severally agree to forfeit to the United States of America the
following property:

1265 15th Street, Apt. 9D
Fort Lee, NJ 07024

and there has been posted with the court the following indicia of my/our ownership of the property:
COPY OF DEED

I/we further declare under penalty of perjury that I am/we are the sole owner(s) of the property described above and
that the property described above is not subject to any lien, encumbrance, or claim of right or ownership except my/our own,
that imposed by this agreement, and those listed below:

and that I/we will not alienate, further encumber, or otherwise willfully impair the value of my/our interest in the property.

The conditions of this agreement are that the defendant Sung Kook (Bill) Hwang
(Name)

is to appear before this court and at such other places as the defendant may be required to appear, in accordance with any and
all orders and directions relating to the defendant’s appearance in this case, including appearance for violation of a condition of
defendant’s release as may be ordered or notified by this court or any other United States Court to which the defendant may be
held to answer or the cause transferred. The defendant is to abide by any judgment entered in such matter by surrendering to
serve any sentence imposed and obeying any order or direction in connection with such judgment.

It is agreed and understood that this is a continuing agreement (including any proceedings on appeal or review) which
shall continue until such time as the undersigned are exonerated.

If the defendant appears as ordered or notified and otherwise obeys and performs the foregoing conditions of this
agreement, then this agreement is to be void, but if the defendant fails to obey or perform any of these conditions, the property
described in this agreement shall immediately be forfeited to the United States. Forfeiture under this agreement for any breach
of its conditions may be declared by any United States District Court having cognizance of the above entitled matter at the time
of such breach, and if the property is forfeited and if the forfeiture is not set aside or remitted, judgment may be entered upon
motion in such United States District Court against each debtor jointly and severally for forfeiture of the property together
with interest and costs, and execution may be issued and the property secured as provided by the Federal Rules of Criminal

Proced d ther | f the United States of America. S)
rocedure and any other laws of the United States of America web Ty Laon Road Tend sy No Obs

This agreement is signed on

LAGU Ne ne oe
Defendant ~ \ Address lear Rd, Tenafly, NJ.07670

Suge Kook (Bil}) Hwarlg “J
Owner(s)/ Address _ 26 Trafalgar Rd, Tenafly, NJ 07670
@ Kook (Bill) Hwang

Signed and acknowledged before me on 5: 3% S022 x

LO Third-Party Withess

Approved:

Judge Andrew L, Carter Jr. Courtroom Deputy Clerk

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Herd

This Deed is wade on November 24, 2014
BETWEEN
Jungshin Kim, unmarried,

whose post office address is
1265 15th Streot, Unit #90
Fort Lee, Naw Jersey 07024

referred to as the Grantor,
AND Sung Kook Hwang,

whose post office address is

about to be 1265 45th Street, Unit #9D
Fort Leo, New Jersey 07024

referred to as the Grantee,
The words “Grantor” and “Grantee” shal! mean all Grantors and al! Grantees listed above.

1, Transfer of Qwnership, The Grantor granta and conveys (transfers ownership of) the property (called the
“Praperty") described below to the Grantee, This transfer is made for the sum of $ 345,000.00

The Grantor acknowledges recelpt of this mangy,

2. Tax Map Reference, (N.JS.A. 46:16-1.1) Municipality of Borough of Fart Lee
Block No. 1654 Lot Na. 2 Qualifier No, COO9D Account No.
CT No lot and block or account number is available on the date of thia Deed, (Check box if applicable.)

3, Property. The Property consists of the land and all the buildings and structures on the land in
the Borough of Fort Lee
County of Bergen and State of New Jarsey. The leged description is:

3 Please see attached Lega! Description snnexed hereto and made a pert hereof. (Check Box if Applicable.)

Being the same premisas conveyed to Jungshin Kim, as set forth in Deed from Yelena Premysler, unmarried,
which Deed was dated January 27, 2006 recorded February 14, 2006 In the Bergen County Clerk's Office in
Deed Book 9015 Page 043,

Nh

FE erintt wigner'y same bolo signature) (For Recorder's Use Ondy)

Davidic. Polazzi, Esq,

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The street address of the Property is:
1265 15th Street, Unit #9D
Fort Lee, New Jorsey 07024

5, Signatures. The Grantor signs this Deed as of the date at the top of the first page. (Print name below each

signature.)
Witness by:
wee MN, As. \hectss * aw

Juigphhn Kim by David G, Polazzi, her attorney In fact

(Seal)

STATE OF NEW JERSEY, COUNTY OF Gergen SS:
I CERTIFY that on November 24, 2014

Jungshin Kim by David G, Polazzi, her attorney In fact

personally came before me and stated to my sallsfaction that this person (or if mare than one, each person):
(a) was the maker of this Deed; and,

(b) executed this Deed as his or her awn act; and

(c) made this Deed for $345,000.00 us the full and actual consideration paid o to be paid for the
transfer of title. (Such consideration is defined In N.J,S.A. 46:15-5,)

RECORD AND RETURN TO;
Christopher S, Martone, Esq. =...
Martone & Associates, LLC Notary Public ~
2500 Lamolne Avenug
Fort Lee, New Jersey 07024 Print naane ond litle below riymature
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No. 23529
Onalifted 1. +4: cunty
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